e 623-3 ; the proponent agency is DCS, G-1.

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pi I,

3-3,

PART | - ADMINISTRATIVE DATA

EXHIBIT

a. NAME (Last, First, Middle Initial) b. SSN c, RANK d. DATE OF RANK
CHAPPELL, JUSTIN M. ‘Wee BS SGT ( )} 20081101
f1. UNIT ORG. STATION ZIP CODE OR APO, | MAJOR COMMAND #2. STATUS CODE g. REASON FOR S
B Co., Ist Bn, 32nd IN, 10th Mtn Div (LD, Fort Drum, NY 13602 FORSCOM 02 | Annua
h. PERIOD COVERED i RATED | j. NON- k.NO.OF | |, RATED NCO'S EMAIL ADDRESS m. UIC n. CMD 0. PSB”
San 7anU MONTHS |} RATED ENCL aK Gr a CODE CODE
YEAR MONTHOAY YEAR MONTH DAY SE0ES MiiiichppeiOmamyal
20090331 20100330 WAKKBO FC
PART it - AUTHENTICATION
a. NAME OF RATER — (Lasf, First, Midale Initial) SSN SIGNATURE - DATE (YYYYMMDD)
"DAVIS, SCOTT P. coset) | DAVIS SCOTT. P SERsURIM? |20100129 /
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAILADDRESS — (.gov. or mil)
1LT IN B Co., Ist Bn, 32nd IN Platoon Leader
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
WINGEART, JASON M. kagergvee) (WINGEART JASON. M, Saga 20100129
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT SENIOR RATER $ AKO EMAIL ADDRESS (.gov. or .mil)
CPT IN BCo., lst Bn, 32nd IN Co Commander al
¢, NAME OF REVIEWER (Last First, Middle Initial ) SEN T SIGNATURE ~_] DATE (YYYYMMDD)
O'DONNELL, FREDERICK M. exe RDONNELL BK © |20100204
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKOEMAILADDRESS —(.gov. or .mil)
Ere IN HQ, 1st Bn, 32nd IN Bn Commander sHAsQeeUsieN@uREyam>
d, CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [| NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (Sée attached comments)
the pier and ccplorreie. Lulihe cena ny guise vate ra Te MInIiTonG ai ceLioming (eee BATE OO YMMEE)
entries in Part ve ara cote | have seer ihe compisted repor | am aware of the appeais process oF AR 820-5, (CHAPPELL IUSTINMIC 20100211
PART Ill- DUTY DESCRIPTION (Rafer)
a. PRINCIPAL DUTY TITLE “ b. DUTY MOSC
Weapons Squad Leader 11B30

¢. DAILY DUTIES AND SCOPE ~ (To include, as appropriate, people, equipment, facilities and dollars)

Weapons Squad Leader assigned to a Light Infantry Battalion forward deployed to RC East in support of Operation Enduring Freedom
IX/X; responsible for the discipline, health, welfare, morale and training of an eight Soldier machine gun squad; responsible for the
tactical employment of the platoon’s medium machine guns and advising the Platoon Leader on direct fire support and training Afghan
National Army RPG and machine gunners; responsible for the maintenance and accountability of $2,000,000 in home station and theater

provided combat equipment.

d. AREAS OF SPECIAL EMPHASIS

Combat operations in support of Operation Enduring Freedom (OEF) LX/X Full Spectrum Combat Operations; Afghan Army Soldier

combat readiness training

e. APPOINTED DUTIES

f. COUNSELING DATES INITIAL LATER LATER LATER
20090520 20090810 20091115
PARTIV- ARMY VALUES/ATTRIBUTESISKILLS/ACTIONS — (Rafer)
a. ARMY VALUES, Check either "YES" or "NO", (Bullet Comments are mandatory. Substantive bullet comments are required for ‘NO" entries.) yes | No

3 Loyalty
Dy
Respect
A Selfless-Service
U
Honor iE
Integrity
Personal Courage &

1. LOYALTY: Bears tue faith and allegiance to the U. S. Constitution, fhe Army, the unit, and other Soldiers.

. DUTY: Fulfills their obligations.

. RESPECT/EO/EEO: Treats people as they should be treated,

. SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own.

. HONOR: Lives up fo all the Army values.

. INTEGRITY: Does whatis right - legally and morally.

SO] oa] & |] wy] bh

. PERSONAL COURAGE: Faces fear, danger, or adversity

(physical and moral). D<|

Bullet comments

© consistently places the success of the mission over his own personal needs and safety

o displays unwavering loyalty to his Soldiers, his unit and his country

0 integrity is above reproach

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PREVIOUS EDITIONS ARE OBSOLETE.

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RATED NCO'S NAME (Last, Fi

+ CHAPPELL, JUSTINMPaSe L-24-Cr-10081-ADB Document 16-2 Filed 03

DATE

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PART IV (Rater)

+ VALUES/NCO RESPONSIBILITIES

20100330 +

Bullet comments are mandatory.
Substentive bullet comments ere required for "EXCELLENCE" or "NEEDS IMPROVEMENT.”

b. COMPETENCE

o Duly proficiency; MOS competency

o Technical & tactical; knowledge, skills, and
abilities

o Sound judgment

0 Seeking self-improvement; always learning

o Accomplishing tasks to the fullest capacity;
committed to excellence

o performed exceptionally as a Weapons Squad Leader, emplacing and employing his
machine gun teams during 60 direct fire engagements with enemy forces

0 possesses an unquestionable technical mastery of machine gun operations and the
best manner to employ direct fire to destroy the enemy and enable friendly maneuver

EXCELLENCE SUCCESS NEEDS IMPROVEMENT i ; : ; ili i
(Exceeds std) (Meets sta) (Some) (Much) 0 constantly strives to improve his expertise through military history research and
developing his own TTPs to defeat an adaptable enemy force
c, PHYSICAL FITNESS & MILITARY BEARING APFT PASS 20091223 | HEIGHT/WEIGHT 731170 YES
o Mental and physical toughness |
o Endurance and stamina to go the distance © scored 300 on last APFT
o Displaying confidence and enthusiasm;
looks like a Soldier 0 one of the most physical tough NCOs in the Company; easily carries equipment
loads weighing in excess of 100 pounds while conducting dismounted combat patrols
EXCELLENCE SUCCESS NEEDS IMPROVEMENT :
SZ std) “ey std) TL Tl) o military bearing and appearance is above reproach and sets the standard for all
d. LEADERSHIP

© Mission first -

0 Genuine concern for Soldiers

0 Instilling the spirit to achieve and win
o Setting the example; Be, Know, Do

0 provided purpose, direction and motivation to his Soldiers by personally setting the
example of leading them from the front duting all combat operations in Afghanistan

o constantly lacked the regard for his own personal safety in combat by properly
Tepositioning his machine gun teams while under direct fire with enemy forces

EXCELLENCE SUCCESS ee IMPROVEMENT ‘

(Exceeds std) —_ (Meets sta) (Some) (Much) oO provided motivation and strong leadership to his Soldiers during all combat
Xx] [ | [| [| operations; defeated the enemy every time contact was initiated

@, TRAINING

© Individual and team

© Mission focused; performance oriented

0 Teaching Soldiers how; common tasks,
duty-related skills

0 Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets std)

*|

NEEDS IMPROVEMENT
(Some)

o effectively trained nine Afghan National Amy RPG and PKM gunners to
compliment the support of all coalition elements

o continuously rehearsed his squad on crew drill procedures ensuring that machitié
gunners and assistant gunners were always prepared for contact with enemy forces

o maximized use of limited down time during the deployment to seek new and unique
training opportunities for his Soldiers

(Much)

. RESPONSIBILITY & ACCOUNTABILITY

o Care and maintenance of equipment/facilities
o Soldier and equipment safety

© Conservation of supplies and funds

0 Encouraging Soldiers to leam and grow

o Responsible for good, bad, right & wrong

0 ensured the meticulous maintenance of his machine guns keeping them mission
ready at all times

o maintained 100% accountability of over $2,000,000 in combat equipment over three
relocations :

EXCELLENCE SUCCESS NEEDS IMPROVEMENT . .

(Exceeds std) (Meets sid) (Some) — (Much) o created an environment that encouraged Soldiers to excel and meet every challenge
PART V - OVERALL PERFORMANCE AND POTENTIAL

1, RATER . Overall potential for promotion and/or @, SENIOR RATER BULLET COMMENTS

service in positions of greater responsibility.

AMONG THE
BEST CAPABLE

x) |_|

FULLY

MARGINAL

0 promote to Staff Sergeant ahead of peers
o program for attendance to the Senior Leader Course

o consistently demonstrates the ability to excel at current duty position and higher

RATER. List 3 positions in which the rated
NCO could best serve the Amy at his/her
current or next higher grade.

Platoon Sergeant

0 possesses unlimited potential; continue to place in positions of increased
responsibility

Drill Sergeant

Observer/Controller

c. SENIOR RATER. Overall performance

t

d. SENIOR RATER, Overall potential

for promotion and/or service in ~

positions of greater responsibility. 41 #2 8
Superior

x TIL uu

1 #2 3

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Fair Poor

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